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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

SAMANTHA NELSON, for herself and                §
and minor child, L.N.,                          §
                                                §
       Plaintiff,                               §
                                                §
vs.                                             §           Case No. 2:24-cv-00177
                                                §
NAZARETH INDEPENDENT SCHOOL                     §
DISTRICT, PRINCIPAL ROBERT                      §
O’CONNOR, AND SUPERINTENDENT                    §
KARA GARLITZ,                                   §
                                                §
       Defendants.                              §

           NOTICE OF APPEARANCE AND MOTION TO RESPOND TO
      PLAINTIFF’S APPLICATION FOR TEMPORARY RESTRAINING ORDER

                                 NOTICE OF APPEARANCE

       NOTICE IS HEREBY GIVEN that Slater Elza of the law firm Underwood Law Firm, P.C.,

located at 500 S. Taylor, Suite 1200, Amarillo, Texas, 79101, telephone: (806) 379-5613,

facsimile: (806) 379-0316, hereby files this Notice of Appearance and Motion to Respond to

Application for Temporary Restraining Order. Slater Elza hereby appears as counsel for

Defendants and respectfully requests that all notices given or required to be given in these

proceedings and all papers served or required to be served in these proceedings be served upon

him via ECF or at the office address, electronic mail address, and facsimile numbers listed herein.

                MOTION TO RESPOND TO PLAINTIFF’S APPLICATION

       Factual Background

       1.      Texas Education Code § 39.023 provides that the Texas Education Agency

(“TEA”) “shall adopt or develop appropriate criterion-referenced assessment instruments designed

to assess essential knowledge and skill in reading, mathematics, social studies, and science.”



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Further, every student receiving instruction in the essential knowledge and skills shall take the

grade appropriate criterion — referenced assessments. 19 T.A.C. § 101.5.           The assessment

instrument that TEA has developed is the State of Texas Assessments of Academic Readiness,

known as the “STAAR” exam. In third and fourth grades, Texas school students are tested in

mathematics and reading. Tex. Educ. Code § 39.023.

       2.      A parent is not entitled to remove the parent’s child from a class or other school

activity to avoid a test, nor may a parent exempt the child from satisfying grade level requirements

in a manner acceptable to a school district. Tex. Educ. Code § 26.010.

       3.      In the Spring of 2023 when L.N. was in the third grade, Plaintiff instructed L.N. to

not answer any questions on her state required STAAR exams. L.N. received a score of 0 on her

STAAR exams but was nonetheless promoted to fourth grade.

       4.      On August 2, 2023, the Board of Trustees for Nazareth Independent School District

(“Nazareth ISD”) changed its policy so that students who fail to achieve a rating of “approaches

grade level” could be retained in the same grade for the following school year.

       5.      In the Spring of 2024, when L.N. was in fourth grade, Plaintiff again instructed

L.N. to not answer any questions on her state required STAAR exams. L.N. did not receive a

rating of “approaches grade level.” She again received a score of 0 on her STAAR exams.

Following a Retention Committee meeting on August 8, 2024, L.N. was retained in fourth grade.

       Procedural Background

       6.      Plaintiff filed a lawsuit in the 64th District Court of Texas against the Defendants

on August 13, 2024, asserting violation of Texas Education Code § 28.02124 and seeking a

temporary restraining order (“TRO”) to place L.N. in the fifth grade, and further seeking a

temporary injunction and a permanent injunction to keep the Defendants from enforcing its policy




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that a student may be retained for not achieving a rating of approaches grade level on the STAAR

exam. The school year in Nazareth ISD began on August 14, 2024. L.N. did not report to school

until August 16th but was absent on August 19th and August 20th.

       7.      Defendants responded to Plaintiff’s state-court application for TRO with a Plea to

the Jurisdiction and raised, among other defenses: Governmental Immunity, Official Immunity,

and failure to exhaust administrative remedies. The 64th District Court did not grant the TRO but

set the matter for hearing at 9:00 a.m. on August 20, 2024. At 9:33 a.m. on August 19, 2024,

Plaintiff nonsuited her state court lawsuit and filed this lawsuit shortly thereafter.

       Analysis

       8.      Plaintiff, by seeking a TRO in this Court, is attempting to bypass the administrative

process to present complaints to the Nazareth ISD Board of Trustees and ultimately the Texas

Commissioner of Education. See Tex. Educ. Code § 7.057. Although Plaintiff has initiated the

administrative process, that process has not been completed.

       9.      While not asserted as a matter of right, Defendants respectfully request that they be

permitted to file a brief in response to Plaintiff’s application for TRO within seven days and

totaling no more than fifteen pages. The Court and the parties will benefit from initial briefing to

narrow and present dispositive issues, facilitating just and expeditious preparation for any hearing

the Court may deem necessary. Therefore, pursuant to Local Rule 83.1, Defendants respectfully

request that they be permitted to file a brief in response to Plaintiff’s application for TRO within

seven days and totaling no more than fifteen pages.




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Dated: August 21, 2024                        Respectfully submitted,

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                                              Fred Stormer
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                                              (806) 376-5613
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                                      By:     /s/ Slater Elza
                                              Slater C. Elza

                                              ATTORNEYS FOR DEFENDANTS

       The following rights are reserved and not waived by this notice of appearance: The
       right to: [i] have final orders entered in non-core matters only after de novo review
       by a judge of the United States District Court; [ii] the right to a trial by jury on any
       matter subject to trial in this case or any proceeding related to this case; [iii] the
       right to move the United States District Court to withdraw the reference in any
       matter subject to withdrawal; or [iv] any right of recoupment or setoff.


                                 CERTIFICATE OF SERVICE

       This is to certify that on this 21st day of August, 2024, a true and correct copy of the

foregoing document has been served via ECF to counsel of record as follows:

       Warren V. Norred
       NORRED LAW, PLLC
       515 E. Border
       Arlington, Texas 76010
       wnorred@norredlaw.com

                                              /s/ Slater C. Elza
                                              Slater C. Elza




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    CERTIFICATION REGARDING GENERATIVE ARTIFICIAL INTELLIGENCE

        I, the undersigned attorney, hereby certify that I have read and will comply with all judge-

specific requirements for Judge Matthew J. Kacsmaryk, United States District Judge for the

Northern District of Texas.

        I further certify that no portion of any filing in this case will be drafted by generative

artificial intelligence or that any language drafted by generative artificial intelligence — including

quotations, citations, paraphrased assertions, and legal analysis — will be checked for accuracy,

using print reporters or traditional legal databases, by a human being before it is submitted to the

Court. I understand that any attorney who signs any filing in this case will be held responsible for

the contents thereof according to applicable rules of attorney discipline, regardless of whether

generative artificial intelligence drafted any portion of that filing.

                                                /s/ Slater C. Elza
                                                Slater C. Elza




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